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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 18-02295JVS(ADSx)                                                Date     March 21, 2019
 Title             Tiffany Coleman v American Honda Finance Corporation


 Present: The                    James V. Selna
 Honorable
                        Lisa M Bredahl                                                 Not Present
                         Deputy Clerk                                                 Court Reporter


                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                          Not Present                                                  Not Present
 Proceedings:           (In Chambers)          ORDER TO SHOW CAUSE RE DISMISSAL
                                               FOR LACK OF PROSECUTION

        The Court, on its own motion, hereby ORDERS plaintiff(s) to show cause in writing no later than
April 1, 2019, why this action should not be dismissed for lack of prosecution. As an alternative to a
written response by plaintiff(s), the Court will consider the filing of one of the following, as an appropriate
response to this OSC, on or before the above date:


    X    Answer by the defendant(s) or plaintiff's request for entry of default.

        Absent a showing of good cause, an action shall be dismissed if the summons and complaint have
not been served upon all defendants within 120 days after the filing of the complaint. Fed. R. Civ. P. 4(m)
The Court may dismiss the action prior to the expiration of such time, however, if plaintiff(s) has/have not
diligently prosecuted the action.

        It is the plaintiff’s responsibility to respond promptly to all orders and to prosecute the action
diligently, including filing proofs of service and stipulations extending time under Rule 55 remedies
promptly upon default of any defendant. All stipulations affecting the progress of the case must be approved
by the Court. Local Rule 7-1


Scheduling Conference set for April 1, 2019 is continued to April 29, 2019 at 10:00 a.m.



                                                                                                          :    00

                                                               Initials of Preparer         lmb




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